
PER CURIAM.
Affirmed. See McDonald v. State, 133 So.3d 530 (Fla. 2d DCA 2013); Doby v. State, 25 So.3d 598 (Fla. 2d DCA 2009); Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009); Waiter v. State, 965 So.2d 861 (Fla. 2d DCA 2007); Steward v. State, 931 So.2d 133 (Fla. 2d DCA 2006); Shortridge v. State, 884 So.2d 321 (Fla. 2d DCA 2004); Shaw v. State, 780 So.2d 188 (Fla. 2d DCA 2001); Paul v. State, 830 So.2d 953 (Fla. *7535th DCA 2002); Harris v. State, 789 So.2d 1114 (Fla. 1st DCA 2001).
KELLY, BLACK, and SALARIO, JJ., Concur.
